             Case 6:24-cv-06118 Document 1 Filed 02/21/24 Page 1 of 4




UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

TARA SWEET, CORRINE ARMISON, and
BROOKLYNN CLINE,

                                      Plaintiffs,
v.                                                          Civil Action No.: 6:24-cv-6118

BATAVIA DOWNS CASINO, WESTERN
REGIONAL OFF TRACK BETTING CORP.,
SCOTT KIEDROWSKI, Chief Operating Officer
and DANIEL WOOD, Director of Security,

                              Defendants.
______________________________________________

                                   NOTICE OF REMOVAL

       Defendants, Batavia Downs Casino, Western Regional Off Track Betting Corp., Scott

Kiedrowski and Daniel Wood (“Defendants”), by their counsel, Schröder, Joseph & Associates,

LLP and gunnercooke LLP, hereby file their Notice of Removal of the above-captioned action,

pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, from the Supreme Court of Genesee County,

New York, in which this action is currently pending, to the United States District Court for the

Western District of New York, and, in support, states the following:

                                    PLAINTIFFS’ CLAIMS

        1.     The above-captioned action was commenced on or about January 24, 2024 by the

 filing of a Summons and Verified Complaint by the Plaintiffs, Tara Sweet, Corrine Armison and

 Brooklynn Cline (“Plaintiffs”) in the New York State Supreme Court, Genesee County, Index

 No. E71055.

        2.     The Verified Complaint states Plaintiffs seek appropriate remedies and damages

 for “violations of the Fair Labor Standards Act and New York State Human Rights Law.”
              Case 6:24-cv-06118 Document 1 Filed 02/21/24 Page 2 of 4




         3.    The Fair Labor Standards Act, 29 U.S.C. §203, §215, §216 (“Federal Labor

Law”) is a federal statute.

         4.    Removal is timely pursuant to 28 U.S.C. § 1446 (b) in as much as this Notice of

Removal is being filed within 30 days of commencement of this action, and within 30 days of

service on the Defendants’ of the Summons and Complaint.

                                      FEDERAL QUESTION

         5.    Pursuant to 28 U.S.C. § 1331 the “district courts shall have original jurisdiction of

all civil actions arising under the Constitution, laws or treaties of the United States.”

         6.    Among Plaintiffs’ claims in the Verified Complaint, Plaintiffs allege violations of

the Fair Labor Standards Act, 29 U.S.C. § 203(m)(2)(B), §216, §215(a)(3), a federal statute.

         7.    Thus, because this matter alleges causes of action arising under federal laws, this

Court has federal question jurisdiction pursuant to 28 U.S.C. § 1441 (a) and (c) and this action is

ripe for removal.

         8.    Venue is proper in the United States District Court for the Western District of New

York in that this action is being removed from the New York State Supreme Court for Genesee

County, which is located in this District.

                                             CONSENT

        9.     Each Defendant consents to the removal of this action from the Supreme Court of

Genesee County, New York to the United States District Court for the Western District of New

York.




                                                   2
             Case 6:24-cv-06118 Document 1 Filed 02/21/24 Page 3 of 4




                                NOTICE PROPERLY SERVED

       10.     Written notice of the filing of this Notice of Removal, this day, has been given to

the Plaintiffs, through their counsel of record, Claire T. Sellers, Esq., HAYES DOLCE, 135

Delaware Avenue, Suite 502, Buffalo, New York 14202, served via U.S. Mail.

       11.     A copy of this Notice of Removal is also being filed contemporaneously with the

Clerk of the Supreme Court for Genesee County, New York.

       12.     Defendants file with this Notice of Removal, an index of the State Court record

along with true and correct copies of all process, pleadings and orders served and filed in the

above-captioned state action.

       13.     Based on the foregoing, Defendants submit that removal of this action is

authorized under 28 U.S.C. §§ 1331 and 1441.

       WHEREFORE, Defendants respectfully request that this Court take jurisdiction of this

matter and that removal of this case to this Court be hereby effectuated and this Court grant all

other relief to which Defendants are entitled.

Dated: February 21, 2024
       Buffalo, New York
                                      Respectfully submitted,

                                      SCHRÖDER, JOSEPH & ASSOCIATES, LLP

                                      s/ Ginger D. Schröder
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                                                 3
Case 6:24-cv-06118 Document 1 Filed 02/21/24 Page 4 of 4




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                            4
